Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 1 of 26

   
 

  

Fill in this information to identify your case:

United States Bankruptcy Court for the:

1N0RTHERN DisTRlcT 0F TExAsW__ >_

1
1 Case number (/fknown)

i:\ Check if this an
amended filing

i

foisi,el_EQ_rm_Z_L
Vo|untary Petition for Non-individua|s Fi|ing for Bankruptcy 4116

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1~ Debt°"S name G_igi_'_S _QPera_t_i_'lg |L LLC___,____

2. Aii other names debtor
used in the last 8 years

include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer identification 82'0658396
Number (E|N)

4. Debtor's address Principa| place of business Mai|ing address, if different from principal place of
business
550 Baiiey Avenue, Suite 650 P.O. Box 470159
E°__r.f_W°rfh_, TX _7,61_9?_ __ ___ _ _ _ _ _F_Q_r_f_WOr_tb.»___TX 7_6_1_4_`(_ _ ___ _ _ _ _
Number, Street, City, State & ZiP Code P.O. Box, Numberl Street, City, State & Z|P Code
Tarrant Location of principal assets, if different from principal
"C¢un`ty ' " " '"“ ` ` '_"* " '" place of business

'N`u_rnber, `St`reet; `City, §tate <‘S§"Zi"Pw Code ' '
5. Debtor'$ website (URL) N)i_v~\!i/w_9igiis_(“;m\,|_!§')“¢;va‘k§§_u_si§;¢;r)rm a

6' Type °f debt°' l corporation (inoluoing Limited Liability Company (LLC) and Limireo Liaonity Pannership <LLP))

i:| Partnership (exciuding LLP)
l:l Other. Specify:

Official Form 201 Vo|untary Petition for Non-individuals Fiiing for Bankruptcy page 1

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 2 of 26

Debtor Gigi's Operating li, LLC

Name

 

Case number (if known)

 

 

 

 

 

7. Describe debtor's business A. Check one:
m Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
1:1 Single Asset Reai Estate (as denned in 11 U.S.C. § 101(51B))
m Raiiroad (as defined in 11 U.S.C. § 101(44))
[:1 Stockbroker (as defined in 11 U.S.C. § 101(53A))
1:1 Commodity Broker (as defined in 11 U.S.C. § 101(6))
I:1 Clearing Bank (as defined in 11 U.S.C. § 781(3))
I?I None of the above
B. Check all that apply
m Tax-exempt entity (as described in 26 U.S.C. §501)
l___} investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
I:I investment advisor (as defined iri 15 U.S.C. §80b-2(a)(11))
C_ NA|CS (North American industry Classiiication System) 4-digit code that best describes debtor,
See http://www.uscourts.gov/four-digit-nationai-association-naics-codes.
7223
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor niing? [:1 Chapter 7
13 Chapter 9
IE Chapter11. Check all that apply.
[_:1 Debtor's aggregate noncontingent liquidated debts (exciuding debts owed to insiders or aleiates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that)_
l:1 The debtor is a small business debtor as denned in 11 U.S.C. § 101 (51 D)_ lf the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).
ij A plan is being fiied with this petition
1:1 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
1:1 The debtor is required to tile periodic reports (for example, 10K and 1OQ) with the Securities and
Exchange Commission according to § 13 or15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-lnd/'viduals Filing for Bankruptcy under Chapter 11
(Ofiicial Form 201A) with this form.
m The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie 12b-2.
§§ chapter 12
9. Were prior bankruptcy [E No_
cases filed by or against
the debtor within the last s [:1 YeS-
years?
if more than 2 cases, attach a _ _
Separate list District When Case number
District When Case number
10. Are any bankruptcy cases m No
pending or being filed by a
business partner or an [3?-1 Yes-
affiliate of the debtor?
List all cases, if more than 1,
attach a separate list Debtol See Attachment Reiationship
District When Case number, if known

 

thciai Form 201

Voluntary Petition for Non-|ndividua|s Fi|ing for Bankruptcy

page 2

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 3 of 26
Debf°r §gi's Operating li, LLC

Name

11. Why is the case filed in
this district?

Check all that apply:

Case number (if known)

 

lzi Debtor has had its domiciie, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

[i A bankruptcy case concerning debtor's aftiiiate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

[@No

l:] Yes_ Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
i:i lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety_
What is the hazard?

 

l:i lt needs to be physically secured or protected from the weather.

[:1 lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for exampie,
livestock, seasonal goodsl meat, dairy, produce, or securities-related assets or other options).

I:i Other

 

Where is the property?

 

Number, Street, City, State & ZiP Code
is the property insured?

 

 

13 No

E Yes_ insurance agency
Contact name
Phone

 

 

- Statistical and administrative information

13. Debtor's estimation of
available funds

Check one.'

l:i Funds will be available for distribution to unsecured creditors
I:i After any administrative expenses are paid, no funds will be available to unsecured creditors

 

 

14- Estir_nated number of § 149 lj 1,000-5,000 j 25,001-50,000
Cred't°r$ j 50-99 ij 5001-10,000 j 50,001-100,000
j 100-199 [j 10,001-25,000 j ivlore thanioo,ooo
j 200-999
15- Esfimafed ASS€¢S :l $0 - $50,000 121 $1,000,001 - $10 million j $500,000,001 - $1 billion

j $50,001 - $100,000
3 $100,001 - $500,000
j $500,001 - $1 million

[j $10,000,001 - $50 million
ij $50,000,001 - $100 million
ij $100,000,001 - $500 million

j $1,000,000,001 - $10 billion
j $10,000,000,001 - $50 billion
j iliore than $50 billion

 

16. Estimated liabilities

j $o - $50,000

_ $50,001 - $100,000
j $100,001 - $500,000
j $500,001 - $1 million

 

ifi $1,000,001 - $10 million

ij $10,000,001 - $50 million
ij $50,000,001 - $100 million
ij $100,000,001 - $500 million

j $500,000,001 - $1 billion
:i $1,000,000,001 - $‘iO billion
3 $10,000,000,001 - $50 billion

 

m lvlore than $50 billion

 

Ofticial Form 201

Vo|untary Petition for Non-|ndividuals Fi|ing for Bankruptcy

page 3

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 4 of 26

Debtor Gigi's Operating ll, LLC

Name

- Request for Reiief, Dec|aration, and Signatures

Case number (ifknawn)

 

 

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Dec|aration and signature

of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor

l have been authorized to hle this petition on behalf of the debtor.

l have examined the information in this petition and have a reasonable belief that the information is trued and correct

l declare under penalty of perjury that the foregoing is true and correct

Executed on ' ' \
MM DD/Y YY

X

SignatuFe of authorized representative of debtor

 

Tit|e

 

Gigi's Operating li, LLC
By: Gigi's Operating, LLC, Soie Member
By: KeyCorp, LLC, its Soie Member
By: Kyle C. Mann, Manager

Ky|e C. Mann

 

Printed name

 

\
18. Signature of attorney X (\M Q'M i@\/

Signature of attoi'ney for debtor

 

Michae| McConnel| 13447300
Printed name

Ke|ly Hart & Hailman LLP
Firm name

201 Main Street, Suite 2500
Fort Worth, TX 76102
Number, Street, City, State & ZlP Code

Contact phone (817) 332-2500 Email address

13447300 TX
Bar number and State

,. l
Date MM/?/Di//é(]¥:\_//az® ij

michael.mcconnei|@ke||yhart.com

 

Ofticial Form 201 Vo|untary Petition for Non-|ndividua|s Filing for Bankruptcy page 4

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 5 of 26

[)@bioi Gigi's Qperat_i_ng__l_l_,__l____i,§__ ___ __ ___________ _______ _____w ___ Case number (/fk"°W") __
Name

Fill in this information to identify your case:

  

l

1 United States Bankruptcy Court for the;
l

 

1NORTHERN D|STR|CT OF TEXAS

1 Case number (irl<nown) Chapter _11__

|___i Check if this an
amended filing

FORM 201. VOLUNTARY PET|T|ON

Pending Bankruptcy Cases Attachment

 

Debtor Gatti's Great Pizza, |nc__.__ ____ __ ___ ___ ___________ __ Re|an°nship to you Aff"iate

gistrict _ _ _ When _1_/_()4/19 _ Case number, if known __ __ _______

D€biOr Gigi's Cupcakes, LLC _ _ __ _ _ __ _ Re‘ati°"$hipt° Y°u A,ff"_i§‘_t_§_____

Di$mct When 1/04/19 Case number, if known __ __

Debior Gigi's operati_ng,_L_Lc __ __ _ __ __ ___ __ __ Re'afi°n$hip 10 you _é_f_fi'_i_§t_§__

Distriot _ __ _ _ _ _ ____ When __1_/_93_/_1_9______________ Case numb€ri ifk"OWn , , __ _____________
Debtor Mr_ Gatti-s_ Lp _ _ _ _ __ Relationship to you Affiiiate_ _

Di$trict _ _ _ _ _ When 1l04l19 Case number, if known ________

Debtor Sovrano, LLC Relationship to you Affi|iate ___

'

Of‘iicial Form 201 Vo|untary Petition for Non-lndividua|s Filing for Bankruptcy page 5

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 6 of 26

WRITTEN CONSENT OF SOLE MEMBER
OF
GIGI’S OPERATING II, LLC

(In Lieu of Special Meeting)
Effective as of December 21, 2018

The undersigned, being the sole member (the “Member”) of Gigi’s Operating II, LLC, a
Delaware limited liability company (the “Company”), acting herein pursuant to the provisions of
Section 6.201 of the Texas Business Organizations Code, do hereby consent to, authorize and
approve the following resolutions in lieu of a special meeting:

Approval of Bankruptcy Proceedings

WHEREAS, the Member deems it necessary, advisable and in the best interest of the
Company that the Company file a voluntary petition seeking relief under Chapter ll of Title ll of
the United States Code (the “Bankruptcy Code”), in which the authority to operate as debtor-in-
possession will be sought;

NOW, THEREFORE, BE IT

RESOLVED, that the filing of a voluntary petition seeking relief under Chapter ll of
Title ll of the Bankruptcy Code, in which the authority to operate as debtor-in-possession will be
sought, be, and it hereby is, authorized in all respects; and

FUR’I`HER RESOLVED, that the Member and any officer of the Cornpany be, and each
hereby is, appointed as an authorized signatory (collectively, the “Authorized Signatories”) of the
Company in connection with the Chapter ll proceedings authorized herein (the “Chapter ll
Case”); and

FURTHER RESOLVED that the Authorized Signatories be, and each hereby is,
authoi'ized, empowered and directed for, and in the name of, and on behalf of, the Company to
execute, deliver and verify or certify a petition under Chapter ll of the Bankruptcy Code and to
cause the same to be filed in the United States Bankruptcy Court at such time as the Authorized
Signatoi'y executing the same shall determine; and

FURTHER RESOLVED, that the Authorized Signatories be, and each hereby is,
authorized, empowered and directed for, and in the name of, and on behalf of, the Company to
execute, file and/or authorize all petitions, schedules, lists, pleadings and other papers, and any
amendments or modifications of the above, and to take any and all actions that the Authorized
Signatories may deem necessary, proper or desirable in connection with the Chapter ll Case; and

FURTHER RESOLVED, that the law firm of Kelly Hart & Hallrnan LLP be, and it
hereby is, employed to render legal services to, and to represent the Company in connection with
the Chapter ll Case and any other related matters in connection therewith, on such terms as the
Authorized Signatories shall approve; and

 

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 7 of 26

FURTHER RESOLVED, that an Authorized Signatory be, and each hereby is,
authorized, empowered and directed for, and in the name of, and on behalf of, the Company to
retain and employ other attorneys, investment bankers, accountants, restructuring professionals,
financial advisors, and other professionals to assist in the Company’s Chapter ll Case on such
terms as are deemed necessary, proper, or desirable; and

FURTHER RESOLVED, that the Authorized Signatories and any employees or agents
(including counsel) designated by or directed by the Authorized Signatories be, and each hereby
is, authorized, empowered and directed to cause the Company to enter into, execute, deliver,
certify, frle, record, and perform such agreements, instruments, motions, affidavits, applications
for approvals or rulings of governmental or regulatory authorities certificates or other documents,
and to take such other actions, as in the judgment of an Authorized Signatory shall be necessary,
proper, desirable and consistent with the foregoing resolutions and to carry out and put into effect
the purposes of the foregoing resolutions, and the transactions contemplated by these resolutions,
their authority thereunto to be evidenced by the taking of such actions; and

FURTHER RES()LVED, that the Authorized Signatoiies be, and each hereby is,
authorized, empowered and directed to cause all fees, costs and expenses related to the
consummation of the transactions contemplated by the foregoing resolutions, which any of the
Authorized Signatories determines to be necessary or appropriate in order to effectuate the general
intent of the foregoing resolutions, the payment of such fees, costs and expenses being conclusive
evidence of such authority; and

FURTHER RESOLVED, that the Authorized Signatories be, and each hereby is,
authorized, empowered and directed to execute and deliver any and all documents and instruments
deemed necessary or appropriate by the Authorized Signatories, and to take any and all such further
action, in the name of and on behalf of the Company, which the Authorized Signatories determine
to be necessary or appropriate in order to effectuate the general intent of the foregoing resolutions,
the signature of an Authorized Signatory being conclusive evidence of such authority; and

FURTHER RESOLVED, that the Authorized Signatories be, and each hereby is,
authorized, empowered and directed for, and in the name of, and on behalf of, the Company to
amend, supplement, or otherwise modify from time to time the terms of any documents,
certificates, instiuments, agreements or other writings referred to in the foregoing resolutions; and

FURTHER RESOLVED, that any and all actions heretofore or hereafter taken by the
Authorized Signatories, employees, or agents (including counsel) of the Company within the terms
of the foregoing resolutions be and they are hereby ratificd, confirmed, authorized and approved
as the act and deed of the Company; and

FURTHER RESOLVED, that the Authorized Signatories, be, and each hereby is,
authorized and empowered to certify on behalf of the Company, as to all matters pertaining to the
acts, transactions or agreements contemplated in any of the foregoing resolutions

Original Signature

A facsimile signature or signature delivered via portable document format (pdi) Will be
accepted as if it were an original si gnature.

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 8 of 26

IN WITNESS WHEREOF, the undersigned Member has executed this Consent to
be effective as of the date first written above.
SOLE MEMBER:
GIGI’S OPERATING, LLC
By: KeyCorp, LLC, its Sole Member

By: //i%é'-//

Kyle C. Mann
Manager

3

Signature Page to Consent of Sole Member
of Gigi’s 0perating Il, LLC

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 9 of 26

Fill in this information to identify the case:

 

~_Debtor name Gigi's_Q_per_ating ||, LLC_ __ _____

1 United States Bankruptcy Court for the: NORl_'t_-lERN DlSTR|CT OF TEXA_S

icase number (ifknown) _ _ _____________
1 g checkifthisisan

amended n|ing

l i.. ._.._. ._, .. _.._____1_ ._.. ., , , __

_(Lficial Form 202
Dec|aration Under Pena|ty of Perjury for Non-|ndividua| Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the documentl
and the date. Bankruptcy Ru|es 1008 and 9011.

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Dec|aration and signature

l am the president another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Schedule A/B: Assets-Real and Personal Property (Oflicia| Form 206A/B)

Schedule D.' Creditors Who Have C/aims Secured by Property (thcial Form 206D)

Schedu/e E/F.' Creditors Who Have Unsecured Claims (Offlcial Form 206E/F)

Schedu/e G.' Executory Contracts and Unexp/'red Leases (Ofncia| Form 2066)

Schedu/e H.' Codebtors (Offrcia| Form 206H)

Summary of Assets and Liabilities for Non-lndividuals (thcial Form 2068um)

Amended Schedule

Chapter 11 or Chapter§'&a:es:'l§?c'?¢re&wrs Who Hamzwa~r~ge§l Unsec'u'redTa/Trns and Are N&F)§ders (Oii_’ic_ia|_I-:orm 204)

[]I[lf]i:li][]i'_`ll'_`l

Other document that requires a declaration

l declare under penalty of perjury that the foregoing is true c rrect.

Executed on 0 \ 10\»\\’1 0 \_(-`1 _ ___ X ..,._-_.,. .

_`S_ignature of individual signirig“i)`riv behalf of debtor

15!_.|€ .Q-,_M§D,'l.,- .. v _ o ,_ _
Printed name

Fosihon“or relationship to debtor - _
Gigi's Operating ll, LLC
By: Gigi's Operating, LLC, Sole Member
By: KeyCorp, LLC, its Sole Member
By: Kyle C. Mann, Manager

thcia| Form 202 Dec|aration Under Pena|ty of Perjury for Non~lndividual Debtors

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Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 10 of 26

Fi|| in this information to identi the case:
Debtor name Gigi's Operating ||, LLC
United States Bankruptcy Court for the: NORTHERN D|STR|CT OF TEXAS l:l Check if this is an

 

 

Case number (if known): amended filing

 

 

 

Official Form 204 g
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims and
Are Not insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. lnc|ude claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

Name of creditor and Name, telephone number Nature of claim |ndicate if claim Amount of claim
complete mailing address, and email address of (for examp|e, trade is contingent, lf the claim is fully unsecured, fill in only unsecured claim amount lf
including zip code creditor contact debts, bank loans, unliquidated, or claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Tota| claim, if Deduction for value Unsecured claim
COmraC'fS) partially secured of collateral or setoff 1
AEP Ohio Trade $624.00
P.O. Box 24424
canton, oH 44701 §
Alea Properties Rent $9,000.00§
(USA), LLC k
2200 N. 1
Germantown 1
Parkway "
Suite 7
Memphis, TN 38106
Atmos Energy Trade $114.00
PO Box 790311
St. Louis, MO
63179-0311
Columbia Gas of Trade $30.00
Ohio
P.O. Box 742510
Cincinnati, OH
45274
Dawn Food Trade $7,646.00

Products, lnc.

333 Sargent Road
Jackson, M| 49201
DecoPac, lnc. Trade $431.00
Ammacedo

SDS 12-0871
3500 Thurston
Avenue

Anoka, MN 55303
Delta Promotions Trade $853.00
5716 Hickory Plaza
Drive

Nashvil|e, TN 37211
F|RST UTlL|TY Trade $138.00
D|STR|CT OF KNOX
COUNTY

122 Durwood Road
Knoxville, TN 37922

 

 

 

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 11 of 26

Debtor
Name

Gigi's Operating |l, LLC

Case number (ifknown)

 

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade
debts, bank |oans,
professional services,

indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

lf the claim is fully unsecured, fill in only unsecured claim amount. lf
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Total claim, if
partially secured

Deduction for value

of collateral or setoff

Unsecured claim

 

Franchise Payments
Network

801 S. Di||ard Street
Or|ando, FL 34787

Trade

$192.00

 

HDJ Capita|
Partners, Ltd.
3065 Mal|ory Lane
Suite 106
Frank|in, TN 37067

Rent

$10,800.00

 

KNOXV|LLE UTlL|TY
BOARD

P.O. BOX 59017
KNOXV|LLE, TN
37950-9017

Trade

$247.00

 

Lawton Commercial
Services

1444 N Centra|
Expressway
McKinney, TX 75070

Trade

$353.00

 

Lenoir City Utilities
Board

P.O. Box 449
Lenoir City, TN
37771-0449

Trade

$1,080.00

 

Olo
26 Broadway
New York, NY 10004

Trade

$351.00

 

Orkin, LLC

2170 Piedmont
Road, NE

Atlanta, GA 30324

Trade

$84.00

 

Southern F|avoring
Company, lnc

1330 Northfolk
Avenue

Bedford, VA 24523

Trade

$60.00

 

SWC Pop|ar FH|
Partners

9077 Pop|ar Avenue
Suite 103
Germantown, TN
38138

Rent

$8,100.00

 

Tri-County Electric
Cooperative, |nc
600 NW Parkway
Azle, TX 76020

Trade

$441.00

 

WebstaurantStore
42 lndustria| Circle
Lancaster, PA 17601

 

 

 

Trade

 

 

 

$840.00

 

 

Ofticia| form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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page 2

Best Case Bankruptcy

 

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 12 of 26

BTXN 094 ( rev 5/04)

UNITED S'I`A'l`l:`,S BANKRUPTCY COUR'I`
NORTHERN DISTRICT OF TEXAS

ln Re:

Gigi's Operating ll, LLC Case No_:

Debtor(s)

coaco>ooor.o>`<.m<o>cm

VERIFICATION OF MAILING LIST

The Debtor(s) certifies that the attached mailing list (only one option may be selecled per form):
l is the first mail matrix in this case.
El adds entities not listed on previously filed mailing list(s).
lIl changes or corrects name(s) and address(es) on previously filed mailing list(s).
El

deletes name(s) and address(es) on previously filed mailing list(s).

In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct

Date O'\1U\Lo \Q\ __ ‘Z 1

Kyle c'.` MAHE/ ` '
. r/T- le Manager for KeyCorF,:<;Sole Member of Gigi' s Operating, LLC,

  

le mber Gigi sting l, LLC

water e\_\e»i\z_:)§\ ________ _
Signature of Atto ey

Michael McConnell 13447300

Ke|ly Hart & Hailman LLP

201 M`ain Street, Suite 2500

Fort Worth, TX 76102

(817) 332-2500 Fax: (817) 878-9280

82-06_____68396 »_
Debtor's Social Security/T ax lD No

'J'o_i{{i Débror'§ so¢iai`sé¢uriry/Téx 1~1`5‘§5:

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Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 13 of 26

AEP Ohio
P.O. Box 24424
Canton, OH 44701

Alea Properties (USA), LLC
2200 N. Germantown Parkway
Suite 7

Memphis, TN 38106

Alea Properties (USA), LLC
2200 N. Germantown Parkway
Suite 7

Cordova, TN 38106

Amy A. Parsons
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Cordova, TN 38016

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Angela M. Pizzo
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Dallas, TX 75251

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St. Louis, MO 63179-0311

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3844 Kelly Blvd
Carrollton, TX 75007

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 14 of 26

Babbs, Stephanie
1219 Buckhead_Trail
Mount Juliet, TN 37122

Berry, Colin J.
1100 Horsetail Drive
Little Elm, TX 75068

BeSt, Michael F.
523 Hidden.Meadow Drive
Keller, TX 76248

Brelsford, William G.
2112 Western…Ave
Fort Worth, TX 75701

Brown, Karen
833 Edgefield_Road
Fort Worth, TX 76107

Burkett, Mark R.
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Fort WOrth, TX 76116

Carole Elam
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Memphis, TN 38134

Carpenter, Keith W.
3013 Hillcrest Dr
Irving, TX 75062

Carr, Jay C.
3915 Palisade Way
Snellville, GA 30039

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 15 of 26

Carter, Kristen A.
811 May'Street

Apt. 7

Fort Worth, TX 76104

Columbia Gas of Ohio
P.O. BOX 742510
Cincinnati, OH 45274

Comptroller Of Public Accounts
Revz Acct. Divz - Bankr. Section
P.O. BOX 13528

AuStin, TX 78711

Conrad, Karen
12721 Bella.VinO Drive
Fort Worth, TX 76126

Culbert, Joel
1116 Springlake Dr
Dripping Springs, TX 78620

Dawn Food Products, Inc.
333 Sargent Road
Jackson, MI 49201

DecoPac, Inc. Ammacedo
SDS 12-0871

3500 Thurston Avenue
Anoka, MN 55303

DeFeO, Jerry
18 Winding Creek'Trail
Garland, TX 75043

Delta Promotions
5716 Hickory Plaza Drive
Nashville, TN 37211

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 16 of 26

Edmondson, Clifton T.
508 Terry'Lane
Heath, TX 75032

Emily M. Henson
459 Mockingbird.Lane
Collierville, TN 38017

FIRST UTILITY DISTRICT OF KNOX COUNTY
122 Durwood.Road
Knoxville, TN 37922

Fix, Robert F.
803 E. Bethel School Road
Coppell, TX 75019

Fleming, Vanessa
366 W City'DaniRd
Corbin, KY 40701

Foley, Stacy L.
2005 Howard.ROad
Waxahachie, TX 75165

Fowler, Tamala
3701 El CampO.Avenue
Fort Worth, TX 76107

Franchise Payments Network
801 S. Dillard Street
Orlando, FL 34787

George, Henry C.
6021 Lantana Lane
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Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 17 of 26

Gigi'S Cupcakes, LLC
550 BaileydAvenue
Suite 650

Fort Worth, TX 76107

Gigi'S Operating, LLC
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Suite 650

FOrt WOrth, TX 76107

Happy State Bank
2525 Ridgmar'BlVd., Ste. 300
Fort Worth, TX 76116

HDJ Capital Partners, Ltd
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Suite 106

Franklin, TN 37067

HDJ Capital Partners, Ltd.
3065 Mallory Lane

Suite 106

Franklin, TN 37067

Internal Revenue Service
Special ProcedureS-Insolvency
P.O. BOX 7346

Philadelphia, PA 19101-7346

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Arlington, TN 38002

Kaminsky, Charles
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San Antonio, TX 78257

Katarina P. Lewis
3408 Wolf Shadow Lane
Memphis, TN 38133

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 18 of 26

Klinglesmith, Monica
693 Urton.WoodS Way
Louisville, KY 40243

KNOXVILLE UTILITY BOARD
P.O. BOX 59017
KNOXVILLE, 'I`N 37950»9017

Kristen Cichon
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Atoka, TN 38004

LaGeSSe, Mary D.
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Lawton Commercial Services
1444 N Central Expressway
McKinney, TX 75070

Lenoir City Utilities Board
P.O. BOX 449
Lenoir City, 'I'N 377'71-0449

Lewis, Mary
5203 Wimbledon.COurt
Arlington, TX 76017

Mann, Kyle C.
4012 Fairway'Court
Arlington, TX 76013

Medina, Claudia

6428 Claire Drive
Apt. 9210

Fort Worth, TX 76131

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 19 of 26

Murphy, Kelly
7929 Stansfield.Drive
Fort Worth, TX 76137

Nancy Johnson
592 Walston.Lane
COllierVille, TN 38017

Ohio Bureau Of Workers' Compensation
P.O. BOX 89492
Cleveland, OH 44101

010
26 Broadway
New York, NY 10004

Orkin, LLC
2170 Piedmont Road, NE
Atlanta, GA 30324

Phillips, Robert J.
205 North.RivercreSt Drive
Fort Worth, TX 76107

Poates, Michael D.
8005 Rushing Spring'Dr
NO. Richland Hills, TX 76182

Pool, Becky M.
2683 McClendon.Rd
Weatherford, TX 76088

Priyankee G. Vaidya
1437 Dexter Lake Dr., Apt. 204
Cordova, TN 38016

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 20 of 26

Regions Bank

Ft. Worth

3017 W. 7th Street
Fort Worth, TX 76107

Reichert, Christopher K.
2541 Windy'Pine Lane
Arlington, TX 76015

Renfrow, Judy
3637 PallOS`VerdaS Drive
Dallas, TX 75229

Robertson, David W.
1701 Payne St

Api;. 711

DallaS, TX 75201

Robertson, Jane
2379 Joe Brown_ROad
Spring Hill, TN 37174

Roney, Nakita
1232 Kensington Dr.
DeSOtO, TX 75115

Smith, Travis M.
3217 Tanglewood'?rail
Fort Worth, TX 76109

Southern Flavoring Company, Inc
1330 Northfolk Avenue
Bedford, VA 24523

Strother, Jack
6300 Via ltalia Dr
Flower Mound, TX 75077

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 21 of 26

SWC Poplar FHI Partners
9077 Poplar Avenue
Suite 103

Germantown, TN 38138

SWC Poplar FHI Partners
9077 Poplar Avenue
Suite 103

Germantown, TN 38138

Texas Workforce Commission
TEC Building'- Bankruptcy
101 East 15th Street
AuStin, TX 78778

Tri-County Electric Cooperative, Inc
600 NW Parkway
Azle, TX 76020

United States Trustee

Office of the United_StateS Trustee
1100 Commerce St., Room.976

DallaS, TX 75242-1699

Vallejo, Elizabeth G.
6249 Winifred.Drive
Fort Worth, TX 76133

Watson, Boyd
6551 Malvey'Ave
Fort Worth, TX 76116

WebstaurantStore
42 1ndustria1 Circle
Lancaster, PA 17601

Wheat, Debbie S.
1215 Greenway'Drive
Duncanville, TX 75137

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 22 of 26

Williams, Robert W.
2813 Saddle Creek;Dr
Fort Worth, TX 76177

Winter, James R.
3816 Birchman~Ave
Fort Worth, TX 76107

Winters, Dustin
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Fort Worth, TX 76135

Woodside, Dustin
6925 WeStcreeijrive
Fort Worth, TX 76133

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 23 of 26

United States Bankruptcy Court
Northern District of Texas

ln re Gigifs Operating ll, LL_C _ __ ,_`__M Case NO- ____ _______

W_ Debtor(s) Chapf€l” _11___________ __

DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
PETITION, LISTS, STATEMENTS, AND SCHEDULES

PART I: DECLARATION OF PETITIONER:

As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, 0r on behalf of,
the debtor in accordance with the chapter of title l l, United States Code, specified in the petition to be filed electronically
in this case. l have read the information provided in the petition, lists, statements, and schedules to be filed electronically
in this case and I hereby declare under penalty of perjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct I understand that this Declaration is to be filed with
the Bankruptcy Court within 7 days after the petition, lists, statements, and schedules have been filed electronically. l
understand that a failure to file the signed original of this Dcclaration will result in the dismissal of my case.

l l hereby further declare under penalty of perjury that l have been authorized to file the petition, lists, statements,
and schedules on behalf of the debtor in this case.

 

Dawr O\ 1oc\1 2c1 ‘Z\____ __ ___ _______ __ _______ __ __ _ ,__ __
Kyle C. Mal'll’l, Gigi's Operating II, LLC
By: Gigi's Operating, LLC, Sole Member
By: KeyCorp, LLC, its Sole Member
By: Kyle C. Mann, Manager

PART II: DECLARATION OF ATTORNEY:

l declare under penalty of perjury that: (l) l will give the debtor(s) a copy of all documents referenced by Part l
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, l l, lZ, or 13 of title l l, United States Code,
and have explained the relief available under each such chapter.

 

ware o\ 1 ed more _ _ ___________ _ .
iMichael McConnel 1 4473 0, Attomey for Debtor
201 Main Street, Suite 2500
FOrt Worth, TX 76102
(817) 332~2500 Fax:(817) 878-9280

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Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 24 of 26

United States Bankruptcy Court
Northern District of Texas

111 w Gigi'_ster§tin_q_lL_l,l-Q_ , ______ ______ _ CaS€NO» _. _
Debtor(s) Chapter 11

DECLARATION FOR ELECTRONIC FILING OF
,BANKRUPTCY PETlTION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of,
the debtor in accordance with the chapter of title l l, United States Code, specified in the petition to be filed electronically
in this case. l have read the information provided in the petition and in the lists of creditors to be filed electronically in
this case and I hereby declare under penalty of perjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct. l understand that this Declaration is to be filed with
the Bankruptcy Court within 7 days after the petition and lists of creditors have been filed electronically_ l understand that
a failure to file the signed original of this Declaration will result in the dismissal of my case.

l l hereby further declare under penalty of perjury that l have been authorized to file the petition and lists of
creditors on behalf of the debtor in this case.

Date: 0110%120\_@\_ _ w

'Kyle C. Mann, Gigi's operating II, LLC
By: Gigi's Operating, LLC, Sole Member
By: KeyCorp, LLC, its Sole Member

PART 11; DECLARATION or ATToRNEY= By: Ky‘° C' M‘"'“’ M“““ge'

l declare under penalty of perjury that: (l) l will give the debtor(s) a copy of all documents referenced by Part l
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, l l, 12, or 13 of title l l, United States Code,

and have explained the relief available under each such chapter. @L,_'

Michael McConn ll 13447 00, Attomey for Debtor
' 201 Main Street, uite 25

Fort Worth, TX 76102

(817) 332-2500 Fax:(817) 878-9280

   

l)ate: O\\@Ll\&@\£\

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Case 19-40074-e|m11 Doc 1 Filed 01/04/19

Michael McConnell

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Nancy Ribaudo

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Proposed Counsel for Debtors

Entered 01/04/19 17:00:44 Page 25 of 26

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

IN RE: §

§
SOVRANO, LLC, § CASE NO. l9-XXXXX-l l
MR. GATTI’S, LP, § CASE NO. 19-XXXxX-11
GATTI’S GREAT PIZZA, INC., § CASE NO. 19-Xxxxx-11
GIGI’S CUPCAKES, LLC, § CASE NO. 19-xxXXX-11
GIGI’S OPERATING, LLC, § CASE NO. l9-xxxXX-ll
GIGI’S OPERATING II, LLC,l § CASE NO. l9-XXXXX-ll

§

Debtors. § (Joint Administration Requested)
§
§

 

CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

Pursuant to Federal Rules of Bankruptcy Procedures 1007(a)(l) and 7007.1, Sovrano,

LLC, a Delaware corporation, and its affiliated debtors and debtors-in-possession (each, a

“Debtor”), hereby state as follows:

l. There is no corporation that owns, directly or indirectly, 10% or more of any class

of the equity interests in Debtor Sovrano, LLC.

 

l The Debtors in these chapter ll cases, along With the last four digits of each Debtor’s federal tax identification
number, are as follows: Sovrano, LLC (1470); Mr. Gatti’s, LP (0879); Gatti’s Great Pizza, lnc. (6061); Gigi’s
Cupcakes, LLC (8356); Gigi’s Operating, LLC (0621); and Gigi’s Operating II, LLC (8396).

CoNsoLIDATED CoRPoRATE OWNERSHIP STATEMENT

PAGE l OF 2

Case 19-40074-e|m11 Doc 1 Filed 01/04/19 Entered 01/04/19 17:00:44 Page 26 of 26

2. GGP Operations, LLC, a non-debtor entity, owns 100% of Gatti’s Great Pizza,

Inc.

3. KeyCorp, LLC, a non-debtor entity, owns 100% of Debtor Gigi’s Cupcakes, LLC.

4. KeyCorp, LLC, a non-debtor entity, owns 100% of Debtor Gigi’s Operating,

LLC.

5. Gigi’s Operating, LLC owns 100% of Debtor Gigi’s Operating II, LLC.

2821556vl

CoNSoLIDATED CoRPoRATE OWNERSHIP STATEMENT

Respectfully submitted,

/s/ Michael A. McConnell
Michael McConnell

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michael.rncconnell@kellyhart.corn
Nancy Ribaudo

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Proposed Counsel for Debtors

PAGE 2 OF 2

